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IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
IN RE; OIL SPILL BY THE OIL RIG MDL No. 2179
“DEEPWATER HORIZON” IN THE GULF

OF MEXICO, ON APRIL 20, 2010 SECTION: J

THIS DOCUMENT RELATES TO: JUDGE BARBIER

All cases in Pleading Bundle Section

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III.BQ) (the “B3 Bundle”) §

MAGISTRATE JUDGE SHUSHAN
2:11-cv-00951-CJB-SS

FIRST AMENDED COMPLAINT AND JOINDER OF CERTAIN PERSONAL INJURY
CLAIMANTS INTO PLEADING BUNDLE “B3”

COME NOW, DARNELL ALEXANDER et al., Plaintiffs, filing this, their Original Complaint
and Joinder into Pleading Bundle B3, and in support of which would respectfully show unto the
Court as follows:
I, FACTS

Plaintiffs are residents of many different states, fully identified on the spreadsheets
attached hereto as “Exhibit A” (Plaintiffs who filed their Original Complaint on April 20, 2010)
and “Exhibit B” (Plaintiffs joining this Complaint on May 13, 2011). Many of these Plaintiffs
were “First Responders” to the Oil Spill cleanup and remediation efforts, and participated both in
beach clean-up activities and in the Vessels of Opportunity program in various positions
including captain and deckhand. In the course of these cleanup activities, Plaintiffs suffered both
skin contact and inhalation of crude oil and chemical dispersants. In many cases, Plaintiffs were
not provided with adequate training and/or protective gear to prevent such exposure. Some
Plaintiffs were even sprayed directly with the chemical dispersants, when airplanes nearby

sprayed the dispersant onto the slicks of oil in very close proximity to the vessels aboard which
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Plaintiffs were working in the Gulf of Mexico. As a result of this exposure, many Plaintiffs
experienced immediate adverse physical reactions to these chemicals, including burning skin,
rashes, headaches, watering eyes, coughing, breathing difficulties, nausea and other stomach
upset, dizziness, and confusion. Some Plaintiffs have manifested even more severe symptoms,
such as loss of feeling in their extremities and other neurological problems, rectal bleeding,
anxiety, insomnia, and depression. The full extent of the damage caused by the mixture of crude
oil and the dispersant chemicals used in the cleanup efforts in the Gulf of Mexico have yet to be
fully revealed.

Many of these physical symptoms persist for these Plaintiffs to the present day.
Additionally, many of these Plaintiffs have been unable to seek adequate medical care due to
lack of health insurance and/or funds inadequate to pay for a doctor’s care. As a result, these
Plaintiffs have either been unable to work or unable to work in the same fields they did before
the Gulf of Mexico oil spill, and as a proximate cause of their exposure and injuries, claim loss
of income as damages in additional to their considerable pain and suffering and mental anguish.

Plaintiffs incorporate by reference the facts, allegations, and claims for damages
contained in the First Amended Master Complaint in Accordance with PTO No. 11 [Case
Management Order No. 1] Section III.B.(3) [“B3 Bundle”], ECF Doc. #1805-1, and join in the
claims contained therein against all named and unnamed defendants.

By the filing of this Complaint and Joinder, Plaintiffs do not waive their right to return to
their home states as identified in Exhibits A and B for trial on the merits after the conclusion of

the pretrial proceedings of this MDL.
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Respectfully submitted,
BRENT COON & ASSOCIATES

/s/ Brent W. Coon

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing pleading has been electronically filed
through the Court’s CM/ECF system and/or LexisNexis File & Serve, in accordance with Pretrial
Order No. 12, which will send a notice of electronic filing to all counsel of record on May 13,
2011.

/s/ Brent W. Coon
Brent W. Coon

